                  UNITED STATES DISTRICT COURT
               WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION


 SECURITIES AND EXCHANGE
 COMMISSION,

                          Plaintiff,
                                                           Civil Action No.
              v.
                                                           3:12-cv-803-GCM
 JOHN W. FEMENIA, SHAWN C.
 HEGEDUS, DANIELLE C. LAURENTI,
 CORAM REAL ESTATE HOLDING,
 INC., GOLDSTAR P.S. INC., ROGER A.
 WILLIAMS, KENNETH M. RABY,
 FRANK M. BURGESS, JAMES A.
 HAYES, MATTHEW J. MUSANTE,
 ANTHONY C. MUSANTE and AARON M.
 WENS,

                        Defendants,

 and

 KRISTINE LACK and CHRISTINE E.
 MUSANTE,


                        Relief Defendants.



  ORDER AND JUDGMENT AS TO DEFENDANT JOHN W. FEMENIA
          AND RELIEF DEFENDANT KRISTINE LACK
       WHEREAS, the parties were before the Court for a conference on October

10, 2024 (the “Court Conference”) to discuss final resolution and disposition of



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this matter with respect to Defendant John W. Femenia (“Defendant” or

“Femenia”) and Relief Defendant Kristine Lack (“Relief Defendant” or “Lack”);

      WHEREAS, Femenia previously agreed to and the Court entered

preliminary injunctive and other relief with respect to Femenia on December 17,

2012, including the freezing of certain bank, brokerage and investment accounts,

co-owned or controlled by Femenia, including a certain JP Morgan Chase Bank

account (the “Relief Defendant Account”) held in the name of Relief Defendant

(the “December 17 Order”) [Dkt. 33];

      WHEREAS, Femenia executed a Consent [Dkt 418] and the Court entered a

consent Judgment [Dkt 419], which among other things, included a waiver of

findings of fact and conclusions of law and an admission by Femenia, by virtue of

his guilty plea in United States v. Femenia, et al.., Crim No. 3:12-cr-00386-RJC

(W.D.N.C.) (the “Criminal Action”), of the allegations of the First Amended

Complaint and an agreement to the Court’s determination of disgorgement,

prejudgment interest thereon and civil penalty, if any;

      WHEREFORE, after consideration of the foregoing and as discussed at the

Court Conference,

      IT IS HEREBY ORDERED as follows:




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      1.     Defendant Femenia is liable for disgorgement in an amount equal to

the monies in the accounts owned or controlled, in whole or in part, by Femenia

that were and are currently frozen pursuant to the Court’s December 17 Order;

      2.     Defendant Femenia’s disgorgement will be satisfied by electronically

transferring the frozen amounts from the accounts owned or controlled, in whole or

in part, by Femenia, including the Relief Defendant Account, that were and are

currently frozen pursuant to the Court’s December 17 Order to the Commission,

which will provide detailed ACH transfer/Fedwire instructions upon request or

through the Pay.gov through the SEC website at

http://www.sec.gov/about/offices.ofm.htm.

      3.     Except as otherwise ordered herein, upon the filing of this Judgment,

any and all asset freezes against other assets of Femenia or Lack are hereby lifted,

vacated and dissolved.

      4.     No civil penalty or prejudgment interest is imposed in light of the

significant criminal penalties imposed on Femenia in the Criminal Action.

      5.     This action is dismissed with prejudice as to Relief Defendant Lack.




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      6.    This Judgment resolves, concludes and terminates Plaintiff’s case

against Defendant John Femenia. This Court shall retain jurisdiction of this matter

for the purposes of enforcing the terms of this Judgment.




                                        Signed: November 4, 2024




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